Case: 16-1375
         Case 1:13-cv-13168-RGS
                Document: 34 Page:
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                United States Court of Appeals
                                For the First Circuit
                                      _____________________

 No. 16-1375

             AMERICAN GUARANTEE & LIABILITY INSURANCE COMPANY

                                        Plaintiff - Appellee

                                                 v.

          JOHN F. LAMOND; TREMONT REALTY INVESTMENTS, LLC;
     SEAMUR ENTERPRISES, LLC; COLUCCI, COLUCCI, MARCUS & FLAVIN, P.C.;
                             SEAN F. MURPHY

                                      Defendants - Appellants
                                      ____________________

                                          JUDGMENT

                                  Entered: December 15, 2016

        Upon consideration of the parties' joint motion, it is hereby ordered that this appeal be
 voluntarily dismissed pursuant to Fed. R. App. P. 42(b), with each party to bear its own costs.

        Mandate to issue forthwith.

                                                      By the Court:

                                                      /s/ Margaret Carter, Clerk

 cc:
 Brian P. McDonough
 Dino Matthew Colucci
 Thomas T. Worboys
